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                              UNITED STATES DISTRICT COURT
11                           DISTRICT OF NEVADA – LAS VEGAS
12 BRADLEY STEPHEN COHEN, an individual;              )    Case No. 2:12-cv-01401-JCM-PAL
   and COHEN ASSET MANAGEMENT, INC., a                )
13                                                         CONCISE STATEMENT OF
   California corporation,                            )
14                          Plaintiffs,               )    MATERIAL FACTS NOT GENUINELY
           vs.                                        )    IN DISPUTE IN SUPPORT OF
15                                                    )    DEFENDANT’S MOTION FOR
   ROSS B. HANSEN; NORTHWEST                          )    SUMMARY JUDGMENT
16 TERRITORIAL MINT, LLC, a Washington                )
17 limited liability company; and STEVEN EARL         )
   FIREBAUGH,                                         )
18                          Defendants.               )
                                                      )
19
20         In support of the Motion for Summary Judgment filed herewith, the following is a concise
21 statement of material facts not genuinely in dispute.
22 Fact                                                  Source
23 ON THE DESCRIPTION OF THE
24 PARTIES
25         1.      Plaintiff Bradley S. Cohen is a                1.   Plaintiffs’ First Amendment
26      well-known real estate investor in Los           Complaint, ECF 40 (hereinafter “FAC”), at ¶
27      Angeles, California.                             13.
28
                                                     1
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 1        2.         Plaintiff Bradley S. Cohen is the             2.     FAC at ¶ 13
 2     president and chief executive officer of
 3     Cohen Asset Management (hereinafter
 4     “CAM”), a California-based company.
 5        3.         CAM is a real estate operator,                3.     Deposition of Scott McGinness
 6     which acquires property on behalf of                (hereinafter “McGinness Dep.”), at 16:11-14
 7     investors, runs the property, and provides
 8     returns to those investors.
 9        4.         Both Cohen and CAM are                        4.     FAC at ¶¶ 1-2
10     domiciled within the Central District of
11     California.
12        5.         CAM creates a number of                       5.     McGinness Dep. at 23:11-23
13     affiliated entities to own and manage the
14     various properties it acquires.
15        6.         CAM and its affiliated entities               6.     FAC at ¶ 13
16     have industrial and office properties
17     nationally, with a current estimated value of
18     “several hundred million dollars.”
19        7.         In 2013, CAM’s investments                    7.     McGinness Dep. at 47:9-21,
20     currently have a higher value than they did         49:11-50:17.
21     five years ago, it has investments in more
22     property than it did five years ago, and more
23     of CAM’s employees in 2013 have a salary
24     of more than $150,000 than five years prior.
25        8.         Bradley Cohen frequently                      8.     FAC at ¶ 13; Deposition of
26     appears as a guest speaker at national real         Bradley Cohen (hereinafter “Cohen Dep.”). at
27     estate events.                                      33
28        9.         Bradley Cohen has been honored                9.     FAC at ¶ 13
                                                        2
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 1     by such organizations such as Boy Scouts of
 2     America, Cedars Sinai Medical Center, and
 3     Friends of the Israeli Defense Forces.
 4        10.     Bradley Cohen has received                     10.   FAC at ¶ 13; Photos of Awards,
 5     numerous awards and recognitions from             attached as Exhibit A; Reha Dep. At 202-25
 6     local, state, and national government
 7     officials, including President George W.
 8     Bush and Vice-President Al Gore.
 9        11.     Cohen has spoken at real estate                11.   Cohen Dep. at page 33; Bradley
10     investing conferences in the past and has         S. Cohen Curriculum Vitae, attached as Exhibit
11     traveled to France on behalf of one               B.
12     organization.
13 ON THE AUBURN VALLEY INDUSTRIAL
14 CAPITAL LLC V. NORTHWEST
15 TERRITORIAL MINT LITIGATION
16        12.     Auburn Valley Industrial Capital,              12.   FAC at ¶ 31.
17     LLC (“AVIC”) is an affiliate of CAM.
18        13.     Northwest Territorial Mint leased              13.   FAC at ¶ 28.
19     property from AVIC.
20        14.     AVIC sued Northwest Territorial                14.   FAC at ¶ 31
21     Mint for lease violations, alleging that
22     Northwest Territorial Mint had
23     environmentally contaminated the property
24     they leased from AVIC.
25        15.     AVIC was granted a money                       15.   FAC at ¶ 31
26     judgment against NWTM.
27        16.     AVIC’s damages, and award of                   16.   FAC at ¶ 31
28     attorneys’ fees against NWTM, are currently
                                                      3
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 1     on appeal.
 2 ON DEFENDANTS’ USE OF THE
 3 WEBSITES
 4        17.       In 2012, Defendant Ross Hansen                17.   Deposition of Ross B. Hansen
 5     developed two websites about Plaintiffs.          (hereinafter “Hansen Deposition”) at 31:13-21
 6        18.       The websites ask the question                 18.   Front Page of
 7     whether Cohen is “the next Bernie Madoff.”        <bradleyscohen.com>, attached as Exhibit C at
 8                                                       1
 9        19.       One of the websites was formerly              19.   Front page of <bradley-
10     located at <bradley-cohen.com>, and one is        cohen.com>, attached as Exhibit D; Cohen Dep.
11     currently located at <bradleyscohen.com>.         at 179; Exhibit C
12        20.       The websites feature Defendant                20.   Hansen Dep., at page 43
13     Hansen’s opinions about Plaintiffs and their
14     business practices.
15        21.       The websites were registered and              21.   Hansen Dep. 172:16-25; Exhibit
16     hosted anonymously and allowed for third-         C at 7
17     party comment and participation.
18        22.       The information about Plaintiffs              22.   Hansen Dep. at 85:19-86:7
19     on the website was based on Hansen’s
20     experiences with Plaintiffs, conversations he
21     had with CAM employees, and documents
22     found through Internet searches.
23        23.       Hansen says his primary purpose               23.   Hansen Dep. at 34:12-24
24     in publishing the websites was a “public
25     service” to the community.
26        24.       Hansen gave final approval on all             24.   Hansen Dep. at 131:4-132:19
27     of the content contained on the websites.
28        25.       Hansen says Defendant Steven                  25.   Hansen Dep. at 132:25-133:2
                                                      4
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 1     Firebaugh’s involvement was “minimal.”
 2         26.      The registrar shut down the                    26.    FAC at ¶ 50
 3     website <bradley-cohen.com> in 2012.
 4         27.      <bradleyscohen.com> is still                   27.    FAC at ¶ 9
 5     operational.
 6 ON DAMAGES CLAIMED BY
 7 PLAINTIFFS
 8         28.      Plaintiffs allege no actual                    28.    CAM’s Responses to
 9     damages from the operation of the websites.         Interrogatories, attached as Exhibit E, at 2-5;
10                                                         Bradley S. Cohen’s Responses to
11                                                         Interrogatories, attached as Exhibit F, at 2-6
12         29.      Plaintiffs have been unable to                 29.    McGinness Dep. at 63; Cohen
13     assert any demonstrable loss of income or           Dep. at 114:6-15; Exhibit E; Exhibit F
14     other loss of business resulting from the
15     content of Defendants’ websites.
16         30.      Cohen recently lost weight since               30.    Deposition of Steven Fishman
17     discovering the website, described by friend        (hereinafter “Fishman Dep.”) at 38:21-39:4
18     Steven Fishman as a “positive” change
19     attributed to working out.
20         31.      Plaintiffs are on track to have a              31.    McGinness Dep. at 99:7-100:7;
21     profitable 2013 – even more profitable than         ECF 40 ¶ 9; Hansen Dep. at 31:13-21
22     2012 when the Websites came into
23     existence.
24         32.      Plaintiff Cohen claims that the                32.    FAC ¶ 77
25     websites have caused him emotional
26     distress.
27         33.      Financially, Cohen and CAM are                 33.    FAC ¶ 80; Fishman Dep. at
28     both doing well.                                    38:21-39:4
                                                        5
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 1 ON THE STATEMENTS MADE ON THE
 2 WEBSITES
 3         34.     The statements have been seen                  34.    Fishman Dep. at 13:16-14:22;
 4     within the State of California.                    Cohen Dep. at 108:12-109:2; Deposition of
 5                                                        Jeffrey (hereinafter “Stern Dep.”) at 7:19-24,
 6                                                        25:8-15; FAC at 23-25
 7         35.     All of Plaintiffs’ claims arise                35.    FAC at ¶23-25
 8     from state law.
 9         36.     The comparison of Bradley                      36.    Exhibit C at 1-2; Exhibit D at 1-2
10     Cohen to Bernie Madoff focuses on the
11     facts: That Madoff and Cohen were both
12     members of various boards of directors, that
13     they made political contributions, that they
14     both worked in the investment field, and that
15     they were both the eponymous heads of their
16     respective investment firms.
17         37.     The websites overseen by                       37.    Exhibit C at 1-3, 12; Exhibit D at
18     Defendant Hansen state that Cohen leads a          1-3, 8, 11
19     life of “glamour” and “luxury.”
20 ON PLAINTIFFS’ STATUS AS PUBLIC
21 FIGURES
22         38.     Plaintiffs’ business is available to           38.    Cohen Dep. at 161:10-21;
23     members of the public, so they may                 McGinness Dep. at 39:24-40:4, 71:12-19;
24     participate and invest for Plaintiffs’             Fishman Dep. at 103:12-104:1
25     economic benefit.
26         39.     In the past, Cohen has not shied               39.    Exhibit A; Deposition of Justine
27     away from receiving public recognition for         Reha, (hereinafter “Reha Dep.”) at 20:16-25:15
28     his accomplishments and involvement
                                                       6
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 1     within the community.
 2        40.     CAM has been a member of the                      40.   Cohen Dep. at 36:22-37:3, 78:8-
 3     National Association of Real Estate                12
 4     Investment Managers (NAREIM).
 5        41.     Cohen has been a member of                        41.   Cohen Dep. at 36:22-37:3, 78:8-
 6     NAREIM’s board.                                    12; Exhibit B
 7 ON THE HOSTING AND REGISTRATION
 8 OF THE WEBSITES
 9        42.     The Websites and their domain                     42.   Firebaugh Dep. at 40:5-41:14;
10     names were registered anonymously and              Hansen Dep. at 160:6-9; FAC ¶¶ 56-57
11     were hosted outside the United States.
12 ON PLAINTIFFS’ STATEMENTS ABOUT
13 CAM’S CORPORATE STRUCTURE
14        43.     Cohen does not know how                           43.   Cohen Dep. at 262:9-21
15     someone with a high school education or
16     without real estate training would have
17     trouble understanding CAM’s operations.
18 ON DEFENDANTS’ STATEMENTS
19 ABOUT CAM’S CORPORATE
20 STRUCTURE
21        44.     The websites stated that                          44.   Exhibit C at 2, 3, 6; Exhibit D at
22     Plaintiffs’ business is structured as an           2-3, 34
23     “intricate web” and “elusive and complex
24     web.”
25        45.     The websites overseen be                          45.   FAC 40 ¶ 42, Exhs. 1, 3
26     Defendant Hansen opined that CAM and its
27     affiliate company are “attempting to scam
28     former tenants out of millions of dollars”
                                                       7
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 1     and “complex.”
 2         46.      The websites state that Plaintiffs            46.   Exhibit C at 2-4; Exhibit D at 2-
 3     are glamorous, prestigious, wealthy and            7, 34
 4     fortunate.
 5         47.      Defendants’ used question marks
 6     to ask questions about Plaintiffs’ business                47.   Hansen Dep. at 57:21-58:20
 7     and financial condition.
 8 ON WITNESS’ INTERPRETATION OF
 9 THE STATEMENTS MADE ON THE
10 WEBSITES
11         48.      Witnesses acknowledge that the                48.   Deposition of Leslie Westreich at
12     statements made on the websites could be           55:5-22
13     opinions.
14 ON THE CAM CORE+ FUND 1
15         49.      The Cam Core+ Fund 1 LLC was                  49.   McGinness Dep. at 35:2-36:16
16     funded with 85 million dollars and used to
17     purchase commercial and industrial real
18     estate.
19         50.      These individual properties                   50.   McGinness Dep. at 36:17-21
20     within the Cam Core+ Fund 1 are owned by
21     individual limited-liability companies
22     created for the sole purpose of owning a
23     particular property.
24         51.      In some cases, one limited-                   51.   McGinness Dep. at 36:17-37:4
25     liability company may own more than one
26     piece of property within the Fund.
27         52.      CAM Core+ Fund 1’s value was                  52.   Cohen Dep. at 186:10-188:5;
28     accounted on a fair market value basis,            McGinness Dep. at 25:6-8, 82:2-14, 87:23-
                                                       8
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 1     where the value of the properties comprising          88:13; Summary of Scott McGinness, attached
 2     the Fund’s assets was calculated based on             as Exhibit H, at 3
 3     what they could be sold for on the prevailing
 4     market on a regular basis.
 5        53.        The fair market value of the                    53.     Exhibit H at 3
 6     Fund’s assets was “written down,” or
 7     decreased, by over $45 million between
 8     2008 and 2010.
 9        54.        Plaintiffs’ position is that because            54.     McGinness Dep. at 83:4-14,
10     the Fund’s assets have not been liquidated,           87:23-88:13, 91:14-92:3; Cohen Dep. at 185:22-
11     no loss has been realized.                            186:8
12        55.        By late 2010, the real estate                   55.     Exhibit H at 3
13     assets within the funds had declined $45
14     million in value.
15        56.        Plaintiffs claim that it is                     56.     Cohen Dep. at 185:22-186:8;
16     defamatory for Defendants to say investors            McGinness Dep. at 83:4-14
17     “lost” money because the asset had not been
18     sold, precluding any loss from being
19     “realized.”
20 ON THE WEBSITES’ CHARTS AND
21 REPRESENTATIONS OF PLAINTIFFS’
22 LOSSES
23        57.        The chart titled “Total Return                  57.     Exhibit C at 6; Exhibit D at 9;
24     Composition Net of Fees As Of 9/30/2010”              ECF 40-1 at 8
25     is a direct copy from CAM’s 3d Quarter
26     Financial Report.
27        58.        CAM’s analysis of its total assets              58.     Exhibit H at 1; Exhibit C at 5;
28     and the Defendants’ chart depicting the same Exhibit D at 8
                                                          9
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 1     show the exact same starting and ending
 2     points.
 3        59.     CAM’s analysis shows a more                      59.      Exhibit H at 1 and Exhibit C at 5,
 4     precipitous drop in total assets from the first     Exhibit D at 8
 5     to the second quarter in 2010 than
 6     Defendants’ depiction.
 7        60.     Plaintiffs attempt to rebut                      60.      Exhibit H at 2-3
 8     Defendants’ depiction of their decrease in
 9     cash and cash equivalents with a chart of
10     “Cash & Restricted Cash.”
11        61.     Both Defendants’ and Plaintiffs’                 61.      Exhibit H at 1 and Exhibit C at 6;
12     chart show a steep decrease in both “cash           Exhibit D at 9
13     and cash equivalents” and “Cash &
14     Restricted Cash” from January 2009 to
15     January 2010.
16 ON THE WEBSITES’ STATEMENTS
17 ABOUT BRADLEY COHEN’S LIFESTYLE
18        62.     Mr. Cohen’s house is located                     62.      Cohen Dep. at 82:17-83:5;
19     within Bel Air and estimated to be worth at         Fishman Dep. at 82:2-7
20     least 15 million dollars – likely more than 20
21     million dollars.
22        63.     Mr. Cohen’s house is around                      63.      Cohen Dep. at 80:21-81:18
23     11,000 square feet in size.
24        64.     Defendants included a photo of                   64.      Exhibit C at 12; Exhibit D at 11
25     Mr. Cohen’s house on the websites for
26     readers’ reference.
27        65.     The photograph of Mr. Cohen’s                    65.      Firebaugh Dep. at 90:11-91:3
28     house was taken from a website that was
                                                        10
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 1     already accessible to the general public.
 2        66.     Mr. Cohen refinanced his                       66.   Cohen Dep. at 83:6-16
 3     mortgage on the residence in 2009 to take
 4     advantage of remarkably low interest rates –
 5     around only 1% per year.
 6        67.     Even since the economic                        67.   Bradley S. Cohen Income
 7     recession that began in 2008, Cohen has           Summary, attached as Exhibit I; Fishman Dep.
 8     made more than 1-3 million dollars per year       at 84:11-87:7, 90:10-91:10
 9     in gross income every year.
10        68.     Prior to the 2008 downturn,                    68.   Exhibit I; Fishman Dep. at
11     Cohen’s annual gross income was as high as        84:11-87:7, 90:10-91:10
12     over five million dollars.
13        69.     Cohen estimates his personal net               69.   Cohen Dep. at 98:6-25
14     worth to be more than 50 million dollars.
15        70.     Cohen invests in every property                70.   Cohen Dep. at 247:4-7
16     managed by CAM.
17        71.     Cohen and his wife have given                  71.   Cohen Dep. at 73:9-74:12
18     hundreds of thousands of dollars to charity,
19     some of which came in “smaller amounts of
20     10,000 [or] 25,000” dollars.
21        72.     Cohen employs an undisclosed                   72.   Cohen Dep. at 56:9-16
22     personal security detail.
23
24 ON THE WEBSITES’ COMPARISON OF
25 BRADLEY COHEN TO BERNIE MADOFF
26        73.     Cohen founded CAM, a real                      73.   Cohen Deposition at 161:10-16
27     estate investment firm.
28        74.     CAM investors must be                          74.   Cohen Deposition at 161:10-12;
                                                      11
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 1     accredited investors under Securities and          McGinness Deposition at 39:24-40:4
 2     Exchange Commission Rule 501 of
 3     Regulation D.
 4         75.       Some individual securities within            75.    Cohen Deposition at 243:21:-
 5     the companies that own property managed            244:18; Offering Memo, attached as Exhibit J at
 6     by CAM are sold for $100,000 each.                 1
 7         76.       Cohen’s own accountant invested              76.    Fishman Deposition at 103:12-
 8     – and lost – $50,000 with CAM.                     104:1
 9         77.       CAM investors identified in this             77.    Decl. of Westreich ¶¶ 1-2; Decl.
10     litigation represent or control institutional      of Bruce Batkin ¶ 3
11     investors, such as pension funds, real estate
12     investment companies, and investment
13     funds.
14         78.       CAM’s office is located in                   78.    McGinness Deposition at 71:20-
15     Century City, California.                          22
16         79.       The Websites state that Cohen                79.    Exhibit C at 2; Exhibit D at 2
17     has “overall responsibility for management
18     of his firm, strategically directs investment
19     funds.”
20         80.       CAM’s investment committee                   80.    Investing Committee Document,
21     makes investments by majority rule, but            attached as Exhibit K; McGinness Dep. at
22     requires Cohen to be part of the majority          29:16-30:3
23     vote in order to take action.
24         81.       CAM is headquartered on the                  81.    Cohen Deposition at 171:9-10;
25     Avenue of the Stars in Century City,               ECF 40-4 at 29
26     California.
27         82.       Other companies with office on               82.    Avenue of the Stars Composite
28     the Avenue of the Stars include: 1) Creative       Exhibit, attached as Exhibit L
                                                       12
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 1     Artists Agency; 2) DLA Piper; 3) McKinsey
 2     & Company, a management consulting firm;
 3     4) JP Morgan; 5) Moelis & Company, a
 4     bank; 6) Susman Godfrey LLP, a law firm;
 5     and others.
 6         83.       Cohen is a member of the Board                83.   FAC ¶ 13; Deposition of Cheryl
 7     of Governors at Cedars Sinai Medical Center Cohen (hereinafter “Cheryl Cohen Deposition”)
 8     and served on the National Board of the            12:11-15, 12:24-13:4
 9     Friends of the Israeli Defense Forces.
10         84.       Cohen has made political                      84.   Cohen Deposition at 177:4-
11     contributions worth tens of thousands of           178:21
12     dollars per year in the past.
13 ON THE WEBSITES’ COMMENTS
14 ABOUT CAM’S WEB OF COMPANIES
15         85.       Defendants created charts                     85.   Exhibit C at 7, 15; Exhibit D at
16     showing the connections between Cohen,             10, 18
17     Brandon Delf, and numerous limited-
18     liability companies on their Websites.
19         86.       The Websites describe Cohen’s                 86.   Deposition of Doreen Ray
20     relationship with these companies as a web,        (hereinafter Ray Deposition) at 140:9
21     describing it as complex and intricate.
22         87.       Doreen Ray, CAM’s Executive                   87.   Ray Dep. at 140:9
23     Vice President of asset management
24     described the structure of CAM’s asset
25     management as “multilayered.”
26         88.       Cohen does not know exactly                   88.   Cohen Dep. at 41:6-42:5
27     how many companies for which he is an
28     officer.
                                                       13
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 1        89.      Cohen invests in every deal made               89.   Cohen Dep. at 97:1-24, 247:4-7
 2     by CAM by becoming a member of the
 3     limited-liability company used to purchase
 4     and own property.
 5        90.      The properties owned by these                  90.   Cohen Dep. at 245:21-247:3
 6     CAM-affiliated limited-liability companies
 7     (also known as investment vehicles) are
 8     managed by a separate company created by
 9     CAM.
10        91.      CAM receives a 20%                             91.   Cohen Dep. at 245:21-247:3
11     promotional interest of the property’s
12     revenue and value for managing the
13     property.
14        92.      CAM’s promotional interest in                  92.   Cohen Dep. at 247:2-3
15     each property that CAM manages ultimately
16     is paid to CAM and Cohen himself.
17        93.      There are hundreds of limited-                 93.   Cohen Dep. at 245:21-247:3
18     liability companies affiliated with Cohen
19     and CAM executives are members.
20        94.      The limited-liability companies                94.   Cohen Dep. at 245:21-247:3
21     affiliated with CAM, which act as
22     investment vehicles, distribute 80% of their
23     earnings to their members.
24        95.      The remaining 20% of the                       95.   Cohen Dep. at 245:21-247:3
25     limited-liability companies’ earnings are
26     paid to one of the CAM affiliated managing
27     entities that is created to manage the
28     investment vehicles.
                                                       14
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 1        96.      Cohen states that his investment             96.    Cohen Dep. at 274:8-15
 2     structure of investment vehicles and
 3     affiliated companies is an industry standard
 4     and practice.
 5 ON CAM EMPLOYEES’ KNOWLEDGE
 6 OF CAM OPERATIONS AND COHEN’S
 7 FINANCES
 8        97.      Doreen Ray is an executive vice              97.    Ray Dep. at 142:20-22
 9     president at CAM.
10        98.      Defendants state on the website              98.    Exhibit C at 4-5; Exhibit D at 7-8
11     that Doreen Ray was “uncomfortable
12     answering questions” about Cohen and his
13     finances.
14        99.      Doreen Ray admitted that she                 99.    Ray Dep. at 145:13-146:2
15     was uncomfortable being asked anything
16     about Cohen individually when testifying as
17     the party most knowledgeable for AVIC.
18        100.     Based on the context of her
19     deposition, Ray declined to answer questions             100.   Ray Dep. at 144:18-146:2
20     about Cohen or CAM beyond AVIC, and
21     herself stated she was “uncomfortable”
22     answering questions about matters other
23     than AVIC.
24 ON CAM’S OCCUPANCY RATE AND
25 OPERATING EXPENSES
26        101.     CAM and its affiliated companies             101.   Ray Dep. at 146:3-10; 149:17-20
27     have occupancy rates that are below 28%.
28        102.     Some of CAM’s properties are                 102.   Ray Dep. at 146:3-10; 149:17-20
                                                     15
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 1     totally vacant.
 2        103.    CAM’s individual vacant                         103.   McGinness Dep. at 79:16-17
 3     properties are not generating revenue while
 4     empty.
 5 ON CAM’S OTHER LITIGATION
 6        104.    Cohen denies that CAM or any of                 104.   FAC ¶ 47; Exhibit D at 34
 7     its affiliated companies are known to sue
 8     tenants and former tenants based on
 9     unfounded accusations and greed.
10        105.    Since 2009, CAM and its                         105.   Litigation Summary, attached as
11     affiliated entities have commenced six             Exhibit M; Cohen Dep. at 198:12-201:1
12     lawsuits against tenants.
13        106.    CAM and its affiliated                          106.   Exhibit M; Cohen Dep. at
14     companies’ tenant litigation has been over         198:12-201:1
15     spaces as small as 12,500 square feet, and as
16     large as 68,779 square feet.
17        107.    CAM’s report discloses only                     107.   Exhibit M; Cohen Dep. at
18     landlord-tenant litigation CAM has filed as a      198:12-201:1
19     plaintiff, since 2009.
20        108.    CAM has initiated lawsuits for                  108.   FAC; Continental Industrial
21     matters other than landlord-tenant disputes.       Capital v. The Davey Tree Expert Co., attached
22                                                        as Exhibit N
23        109.    The lawsuit brought by AVIC –                   109.   FAC at ¶ 28, 31; Hansen Dep. at
24     an affiliate of CAM – is on appeal.                110:1-6
25 ON STATEMENTS ON THE WEBSITES
26 REGARDING BRADLEY COHEN’S
27 CRIMINAL HISTORY
28        110.    Defendants’ website states that                 110.   Exhibit D at 25
                                                       16
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 1     Defendants’ investigation has revealed “a
 2     criminal history involving fraud and money
 3     laundering for a man with the same name
 4     and same approximate age, in the real estate
 5     industry.” (emphasis in original)
 6         111.    Defendants state on the websites               111.   Exhibit D at 25
 7     that both Cohen and Brad S. Cohen have
 8     succeeded in the real estate industry, are
 9     from the same geographic area, have the
10     same name, and are about the same age.
11         112.    The portion of the bradley-cohen               112.   Exhibit D at 37-46
12     website contained news stories from the
13     early 1990s and a full copy of the United
14     States Court of Appeals for the Third
15     Circuit’s order in the Banks v. Wolk case,
16     918 F.2d 418 (3d Cir. 1990), in which a man
17     named Brad Cohen was an appellee on
18     claims including RICO (18 U.S.C. § 1961-
19     1968).
20         113.    The content regarding a Bradley                113.   Exhibit D at 26-33, 37-46
21     Cohen’s RICO case and convictions on the
22     website constitutes either a wholesale
23     republication of a judicial opinion or articles
24     about judicial activities.
25 ON THE WEBSITE’S STATEMENTS
26 REGARDING CAM’S REPUTATION
27         114.    Defendants’ statements about                   114.   Exhibit C
28     CAM refer to the investing services it
                                                       17
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 1     provides.
 2 ON REPUTATIONAL HARM TO
 3 PLAINTIFFS
 4        115.     CAM did a “big deal” with New                  115.   Cohen Dep. at 114, 147
 5     York Life, but does not know whether the
 6     two parties will do another deal.
 7        116.     As to damages from the websites,               116.   Ray Dep. at 87:22-88:6;
 8     CAM’s employees state only that they do            McGinness Dep. at 62:24-63:5; Cohen Dep. at
 9     not know if the phone does not ring.               114:12-14
10        117.     CAM is on track to have a                      117.   McGinness Dep. at 99:22-100:6
11     profitable year in 2013, and potentially its
12     best year yet.
13        118.     More CAM employees than ever                   118.   McGinness Dep. at 50:1-12;
14     before are earning at least $150,000 per           Exhibit G
15     year.
16        119.     Cohen continues to earn more                   119.   Exhibit I
17     than $1.3 million per year in gross income.
18 ON PLAINTIFFS’ FALSE LIGHT CLAIMS
19        120.     Plaintiffs seek only presumed and              120.   Exhibit E at 3, 4:13-14, 5;
20     general damages.                                   Exhibit F at 4:12-13, 5-6
21        121.     CAM’s alleged loss of reputation               121.   Cohen Dep. at 113:18-114:22
22     is based on Cohen’s assumptions.
23        122.     Cohen’s general damages are                    122.   Cohen Dep. at 42:19-43:9,
24     based on his sleeping patterns.                    44:14-45:24, 119:4-24; Expert Report of Dr.
25                                                        Saul Faerstein, Exhibit P, at 3
26        123.     Cohen has other stressors in his               123.   Rebuttal Expert Report of Dr.
27     life, ranging from managing CAM to the             Lewis Etcoff, Exhibit O
28     anxiety he experiences from his family life.
                                                       18
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 1 ON PLAINTIFFS’ INTENTIONAL
 2 INFLICTION OF EMOTIONAL DISTRESS
 3 CLAIMS
 4        124.    Cohen seeks to hold Defendants                 124.   Cohen Dep. at 272:6-8; FAC ¶¶
 5     liable for publishing words on the Internet.      9-12
 6        125.    Since discovering the website,                 125.   Exhibit P at 3; Mr. Cohen’s
 7     Cohen has had changes in his sleeping             dream description email, attached as Exhibit Q;
 8     pattern and unusual dreams involving Ross         Faerstein Dep. at 154:20-155:23
 9     Hansen.
10        126.    Cohen has lost approximately 30                126.   Cohen Dep. 120:6-7; Fishman
11     pounds.                                           Dep. 38:24-39:2
12        127.    Cohen’s anxiety with the website               127.   Cohen Dep. 42:19-43:9, 44:14-
13     has not manifested as nausea or any other         45:24, 119:4-24, 120:17-23; see Exhibit P at 3-4
14     physical form.
15        128.    Plaintiffs’ expert witness says                128.   Exhibit P at 3
16     Cohen’s distress appears to be his own state
17     of mind.
18        129.    According to Plaintiffs’ expert                129.   Exhibit P at 3
19     witness, the websites have become an
20     “obsession” of Cohen’s, checking the
21     Internet “daily” and becoming “consumed
22     by the lawsuit.”
23        130.    Cohen spends “countless hours                  130.   Exhibit P at 3
24     working on the case, sending articles and
25     notes to his attorney, reviewing evidence
26     and deposition transcripts,” according to
27     Plaintiffs’ expert witness, time which the
28     report says Cohen believes “could be spent
                                                      19
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 1     in more productive activities.”
 2 ON DEFENDANTS’ KNOWLEDGE OF
 3 PLAINTIFFS’ BUSINESS
 4 RELATIONSHIPS
 5        131.    Defendants did not directly or                 131.   Hansen Dep. at 35:14-36:1;
 6     indirectly contact any existing or potential      Firebaugh Dep. at 73:13-24; 78:8-18; 87:4-
 7     business contact of Cohen’s or CAM’s.             88:11
 8        132.    Defendants published their
 9     concerns about Plaintiffs on the Websites,                132.   Hansen Dep. at 35:14-36:1;
10     available on the Internet.                        Firebaugh Dep. at 73:13-24; 78:8-18; 87:4-88:1
11        133.    Hansen intended to relate his                  133.   Hansen Dep. at 173:6-10
12     own experiences and feelings about
13     Plaintiffs through the websites.
14        134.    The funds Jeffrey Stern invested               134.   Stern Dep. at 47:11-48:25,
15     were reduced by an amount Stern is                50:10-15, 51:15-52:4, 52:9-53:17, 55:15-56:10
16     uncertain of within several million dollars,
17     and for reasons he declined to share.
18        135.    CAM’s claimed losses are based                 135.   Cohen Dep. at 114:8-15
19     on relationships that either never came into
20     being, such as the Ohio State Teachers, or
21     which were consummated, but may or may
22     not continue in the future, such as New York
23     Life.
24        136.    The economic damages allegedly                 136.   Cohen Dep. at 114:8-15
25     caused by Defendants were losses to CAM,
26     rather than a direct loss to Cohen himself.
27
28
                                                      20
                                          Concise Statement of Facts
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 1 Dated: October 30, 2013                Respectfully submitted,

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                                  Concise Statement of Facts
